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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-1351V
                                   Filed: September 15, 2021
                                         UNPUBLISHED


    YUKIKO BOQUET,

                         Petitioner,
    v.                                                       Joint Stipulation on Damages;
                                                             Influenza (Flu) Vaccine; Guillain-
    SECRETARY OF HEALTH AND                                  Barre Syndrome (GBS)
    HUMAN SERVICES,

                        Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
petitioner.
Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

       On September 27, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered Guillain Barre Syndrome (“GBS”) as
a result of her September 22, 2016 influenza (“flu”) vaccination. Petition at 1;
Stipulation, filed September 14, 2021, at ¶¶ 1, 4. Petitioner further alleges she has
experienced the residual effects of her condition for more than six months, that there
has been no prior award or settlement of a civil action for damages as a result of her
condition, and that her vaccine was administered in the united states. Petition at 1, 5;
Stipulation at ¶¶ 3-5. “Respondent denies that petitioner sustained a GBS Tale injury,
and further denies that the flu immunization is the cause of petitioner’s alleged GBS or
any other injury or condition. ” Stipulation at ¶ 6.



1
  Because this decision contains a reasoned explanation for the special master’s action in this case, it will
be posted on the United States Court of Federal Claims’ website in accordance with the E-Government
Act of 2002. See 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
Internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact
medical or other information the disclosure of which would constitute an unwarranted invasion of privacy.
If the special master, upon review, agrees that the identified material fits within this definition, it will be
redacted from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinaf ter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on September 14, 2021, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. I find the
stipulation reasonable and adopt it as the decision of the Court in awarding damages,
on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $205,000.00 in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under § 15(a). Id.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment in accordance with this decision. 3


IT IS SO ORDERED.

                                         s/Daniel T. Horner
                                         Daniel T. Horner
                                         Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                     2
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